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         mtntteb ~tates (!Court of jfetreral (!Claims
                                            No. 18-864 C
                                       Filed: October 5, 2018


    CASSANDRA D. METTS,

                  Pro Se Plaintiff,

    v.

    UNITED STATES OF AMERICA,

                  Defendant.


           Cassandra D. lvletts, pro se plaintiff.

           Albert Salvatore Iarossi, Esquire, United States Department of Justice, Civil
    Division, Washington, D.C., for defendant.

                                      ORDER AND OPINION

           Plaintiff Cassandra D. Metts filed a Complaint in June 2018, seeking damages
    against the United States related to Social Security disability claims, defamation,
    "obstruction of religious belief, [and] harassment of [her] religious group and belief
    system." Metts also requests a comi order charging the defendants with crimes of
    harassment against church members.

           Ms. Metts names an array of co-defendants with the United States, including certain
    "retired Baltimore City & state employees." United States filed a Motion to Dismiss for
    lack of subject matter jurisdiction pursuant to RCFC 12(b)(l).

            This court generally hears actions against the United States in which Congress has
    waived its sovereign immunity pursuant to the Tucker Act. See 28 U.S.C. § 149l(a)(l).
    We reviewed the Complaint in a light most favorable to this plaintiff and took into
    consideration the court's obligation to consider allegations of pro se pleadings with wide
    latitude compared to those drafted by attorneys, nevertheless we cannot discern a claim
    within our jurisdiction. We do not have jurisdiction over social security claims. See 42
    U.S.C. § 405(g); Addams-More v. United States, 81 Fed. Cl. 312, 315 (2008). We do not
    hear tort claims of the nature described here, such as defamation or civil wrongs committed
    by agents of the United States. Brown v. United States, 35 Fed. Cl. 258, 267 (1996), aff'd,


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105 F.3d 621, 624 (Fed. Cir. 1997). Our jurisdiction does not include claims based on
criminal violations. Sanders v. United States, 252 F.3d 1329, 1333-34 (Fed. Cir. 2001).

       For the reasons stated herein, the Defendant's Motion to Dismiss pursuant to RCFC
12(6)(1) is GRANTED. Ms. Metts' Motion for Hearing is moot and therefore DENIED.
No costs.

      IT IS SO ORDERED.



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                                                Judge




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